






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00193-CR






Mohammad Ashraf, Appellant


v.


The State of Texas, Appellee






FROM COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY

NO. C-1-CR-08-206754, HONORABLE MIKE DENTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


PER CURIAM

		This is an appeal from a judgment of conviction for assault.  The reporter's record
has not been filed and is overdue.  The Court has been advised by the court reporter that no
arrangement for payment has been made.  See Tex. R. App. P. 35.3(b)(3).  The clerk's record
indicates that the appellant, appearing pro se, has filed a request to be declared indigent by the trial
court, but that the trial court has not acted on this request.

		To avoid further delays and protect the rights of the parties, the appeal is abated and
the trial court is instructed to determine, following a hearing if necessary, whether appellant is
presently indigent.  If the court finds that appellant is indigent, it shall order the preparation of the
reporter's record at no cost to appellant and take all necessary steps to assure that appellant is
effectively represented by counsel, including appointing new counsel for the appeal if necessary. 
Copies of all findings, conclusions, and orders, and a transcription of the reporter's notes if a hearing
is held, shall be tendered for filing in this Court no later than February 26, 2010.


						Before Justices Patterson, Puryear and Henson

Abated

Filed:   January 28, 2010

Do Not Publish


